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                    EXHIBIT A
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                                                                                               APR 2 5 202%
This form contains Restricted Information.
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                  Located at 111 NORTH CAL VERT ST. BALTIMORE
                                                        Court Address
                                                                                                   Case No.-~ ,-_J.L..-=:::;r=::_,_,,_:....=:....."---'~

 IN THE MATTER OF: DR. KEENAN COFIELD, et. al.                                              vs.     PASSPORT MOTORS, et. al.
                                                     Petitioner/Plaintiff                                        Respondent/Defendant
                                     REQUEST FOR WAIVER OF PREPAID COSTS
                                                (Md. Rule 1-325)

 MDEC counties only: Unless you are filing into a restricted case type (Adoption, Emergency Evaluation,
 Extreme Risk Protective Order (ERPO), Guardianship, Juvenile), you must file a Notice Regarding
 Restricted Information Pursuant to Rule 20-201.1 (form MDJ-008) with this submission.

     I, KEENAN COFIELD                                                 wish to file a complaint, petition, or other documents
                                Name of party
 which I have completed and attached. I am unable to prepay the prepaid costs in this matter because of
 poverty.
 Affidavit of Income
 I respectfully submit that:
      1. There are -~N~um-b~e-r
                          2    -
                                 family members living in my household, including myself.
            (Do not include renters or temporary guests).
      2.    The total gross household income (before taxes) is$ __O_ _ _ _ _ __
            (total income earned by all persons in the household) per D WEEK/ D MONTH/ D YEAR.
      3.    The gross household income (before taxes) is from the following sources
            (list amounts before taxes) per D WEEK/       MONTH I □ YEAR: /X'
                0 Wages ........................................................................................................ $ _O_.O_O_ _ _ __
            □ Commissions/Bonuses .............................................................................. $ _O_.O_O_ _ _ __
            [Bl Social Security/SSI ................................................................................... $ ~78~6=.0~0_ _ __
            □ Retirement Income .................................................................................... $ _O_.O_O_ _ _ __
            □ Unemployment Insurance ......................................................................... $ _O_.O_O_ _ _ __
            □ Temporary Cash Assistance ...................................................................... $ _0_.0_0_ _ _ __
            □ Alimony/Spousal Support ......................................................................... $ _O_.O_O_ _ _ __
            □ Rent received from tenants ....................................................................... $ _O_.O_O_ _ _ __
         ~ Any Other Income (Do not include food stamps/SNAP) .......................... $ _O_.O_O_ _ _ __
      4. I own the following property.
            (Do not list your home, one vehicle, and/or personal items in your home):
               !Bl NONE
            D Real estate other than principal home .......................................... Value: $                  - - -----
            □ Other vehicles including boats .................................................... Value:               $ _ _ _ _ _ __
            D Bank accounts .......................................................................... Balance: $ _ _ _ _ _ __
            □ Stocks or other securities ............................................................ Value: $ _ _ _ _ _ __

            □ Other property (describe): _ _ _ _ _ _ _ _ _ _ _ _ Value:                                                $ _ _ _ _ __
 CC-DC-089 (Rev. 07/2021)                                            Page I of3                      RPWNC (New Case);
                                                                                                     RPWSF (Subsequent Filing)
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     5. I owe the following debts:
               □ NONE
           D Credit Card: _ _ _ _ _ Amount Owed: $ - - --                         Monthly Payment: $

           D Car Loan: _ _ _ _ _ _ Amount Owed: $ _ _ _ _ Monthly Payment: $
           [El Other Debt·_RE_N_T_ _ _ _ Amount Owed: $ 550.00                    Monthly Payment: $ 550.00

     6.   Other information to demonstrate my inability to prepay the required costs:
          MVA-CAUSEDTOTALDISABILITY.




     For these reasons, I request a waiver of the prepaid costs.
   I understand that I may have to pay these costs at the end of the case, unless the court grants a final
waiver of open costs, and that ifl want a final waiver of open costs I must request the waiver at the
conclusion of the action in accordance with Maryland Rule 1-325(f)(2)(A).
    I solemnly affrrm under the penalties of perjury that the contents of this document are true to the best
of my knowledge, information, and belief.




Party Name
           •c~
Party Signature
DR. KEENAN COFIELD

1236 KENDRICK RD.
                                                            443-554-3715
                                                            Telephone/ Fax
                                                           Supremegrandbishop@gmail.com
                                                            E-mail
                                                            04/22/2022
Address                                                     Date
ROSEDALE, MD 21237
City, State, Zip

Attorney Certification (To be completed by your lawyer, ifyou are represented).
I, - - - - - - - - - - c - - , - - - - - - - - - , certify that to the best of my knowledge, information,
                     Name of Attorney
and belief, there is a good ground for this claim, application, or request for process, and it is not interposed
for any improper purpose or delay.
                                                                      On behalf of: --....,....---.,.............,-----
                                                                                               Name of party


Attorney Signature                      Attorney Number     Telephone / Fax

Attorney Name                                                E-mail

Address                                                     Date


City, State, Zip



CC-DC-089 (Rev. 07/2021)                              Page 2 of3                 RPWNC (New Case);
                                                                                 RPWSF (Subsequent Filing)
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 ~t>-R;L,i,j.,o      [Kl CIRCUIT COURT D DISTRICT COURT OF MARYLAND FOR Baltimore City                                          EJ
    11)1                                                                                                         City/County
 ✓uD        ,._4.   Located at 111 NORTH CALVERT ST. BALTIMORE                           Case No. _ __ _ _ _ _ __
       1c11>-                                   Court Address

IN THE MATTER OF: DR. KEENAN COFIELD, et. al.                                      vs.    PASSPORT MOTORS, et. al.
                                              Petitioner/Plaintiff                                Respondent/Defendant



                    ORDER REGARDING REQUEST FOR WAIVER OF PREPAID COSTS

        Upon consideration of the Request for Waiver of Prepaid Costs submitted by
-=KE=E=N::...:.;:_;AN=-..:_..::cC-=Oc;:.F,;;;.;IE=L=D===-------- , and any further documentation as required or authorized by
                        Name of party
Rule 1-325 or other applicable law,
        THE COURT FINDS THAT:
        The party named above:
                 D Meets the financial eligibility guidelines of the Maryland Legal Services Corporation.
                 0 Does NOT meet the financial eligibility guidelines.
       The party named above:
                 D Is unable by reason of poverty to pay the prepaid costs.
                 D Is NOT unable by reason of poverty to pay the prepaid costs.
       The claim, appeal, application or request for process
                 D does not appear, on its face, to be frivolous.
                 0 DOES appear, on its face, to be frivolous.
       □ Other findings: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




                THE COURT ORDERS that the waiver is:
       □ GRANTED

       0 DENIED. You have 10 days from the date of this order to pay the costs. If the unwaived costs are
            not paid in full within 10 days, the pleading or papers filed will be considered withdrawn.




                            Date                               Judge's Signature                                    ID Number




CC-DC-089 (Rev. 07/2021)                                    Page 3 of3                    RPWNC (New Case);
                                                                                          RPWSF (Subsequent Filing)
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                                       COMPLAINT
                 IN THE CIRCUIT COURT FOR BALTIMORE CITY, MARYLAND


DR. KEENAN COFIELD, JD/Ph.D/Psy.D/DD                                r...
and The Supreme GRAND Bishop-Cofield
4109 CUTTY SARK RD.
MIDDLE RIVER, MD 21220                                           APR 2 5 202!
EMAIL:psychdotor101@gmail.com
and Superemegrandbishop@gmail.com                            CIRCUIT COURT .,-~
                                                           OR BALTIMQRg ~         =
LAVERNE THOMPSON-(84 year old Mother Victim)
1236 KENDRICK RD.
ROSEDALE, MD 21237


MAILING ADDRESS:
DR. KEENAN COFIELD
1236 KENDRICK RD.
ROSEDALE, MARYLAND 21237
443-554-3715




Vs
             PLAINTIFF(S)/CLAIMANTS

                                CASE AND CLAIM NUMBER:   4: c_. J;2 .ooo201lf;
                                                             .




RESIDENT AGENT:
THE CORPORATION TRUST, INC.
PASSPORT MOTORS HOLDINGS, INC.
2405 YORK RD.
SUITE 201
LUTHERVILLE, MD 21093-2264

PASSPORT MOTORS HOLDINGS, INC.
5000 AUTH WAY
MARLOW HEIGHTS, MD 20746

PASSPORT NISSAN OF MARLOW HEIGHTS
5000 AUTH WAY
MARLOW HEIGHTS, MD 20746


PASSPORT MOTORCARS, INC.
5000 AUTH WAY
MARLOW HEIGHTS, MD 20746, et. al.


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KOMI E. DOGBATSE, SALEPERSON
PASSPORT NISSAN OF MARLOW HEIGHTS
5000 AUTH WAY
MARLOW HEIGHTS, MD 20746


MR. CHESTER, GENERAL MANAGER
PASSPORT MOTORS HOLDINGS, INC.
5000 AUTH WAY
MARLOW HEIGHTS, MD 20746


JOHN & JANE DOE, STATE VEHICLE INSPECTIONS EMPLOYEES
PASSPORT MOTORS HOLDINGS, INC. & PASSPORT NISSAN OF MARLOW HEIGHTS
5000 AUTH WAY
MARLOW HEIGHTS, MD 20746

ATHENS PROGRAM INSURANCE SERVICES
C/O SHANNON REGISTER, CLAIMS SPECIALIST
PO BOX 4111
CONCORD, CA 94524


ATHENS PROGRAM INSURANCE SERVICES
C/O ATHENS ADMINISTRATORS
PO BOX 4111
CONCORD, CA 94524

ALLIED WORLD SPECIALTY INSURANCE COMPANY
ATHENS ADMINISTRATORS
9 FARM SPRING ROAD
FARMINGTON, CONNECTICUT 06032-2576

MARYLAND INSURANCE ADMINISTRATION
C/O ALLIED WORLD SPECIALTY INSURANCE COMPANY
200 ST. PAUL STREET, SUITE 2700
BALTIMORE, MD 21202


ALL DEFENDANTS OR RESPONDENTS ARE BEING SUED AND/OR CLAIMS FILED
IN THEIR INDIVIDUAL AND OFFICIAL CAPACITY-KNOWN AND UNKNOWN/NAMED
OR UNNAMED




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 2).                       PROCEDURAL AND FACTUAL BACKGROUND

                                                        th
       On or about the 31 st day of March, 2021 thru 14 day of May, 2021 to date, the Claimant

purchased a 2011 Mercedes Benz USED R-Class vehicle with VIN#4JGCBSHEXCA146274.

3). The Plaintiff Cofield used the product or vehicle described above in a reasonably foreseeable

manner; and the brakes totally failed as a result of the vehicle having replaced with the WRONG

rotors on the rear of the Claimants vehicle, that carried a failed or faulty inspection.

4). The Plaintiff/Claimant Dr. Cofield suffered serious to permanent injuries as described below

and his Mother LaVerne Thompson suffered minor pain and suffering, injuries or harm as a

result of the defect or failure to inspect the vehicle and all inspection items as required by law

before the vehicle was sold.


                        STATEMENT OF THE CASE, FACTS AND CLAIMS
                               COMPLAINT AND COUNT ONE-NEGLIGENCE

5).    COME NOW the Plaintiff(s) Dr. Keenan Cofield, the Supreme GRAND Bishop,

and his mother (Laverne Thompson) and for the cause of action state as follows:

                                      CAUSES OF ACTION

6). Beginning on or about the 24th day of September, 2021, the Defendants,

Respondents, and/or employees, managers, staff, workers, and other officials of

Passport Nissan, Passport Motorcars, Inc. and others thereof, individually, separately

and/or jointly, did knowingly, willingly, purposely, negligently, commit some acts or

conduct with negligence, malice, deliberate indifference, did commit and/or caused or

allowed thereto, to sell a vehicle described above with faulty and/or defective rotors and

brakes that failed causing permanent injuries and bodily damages to Claimant Dr.

Cofield for life, and did so without any or proper inspection of the brakes, rotors on the

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rear of the vehicle as required by State law, selling a motor vehicle falsifying and/or

forging with the intent to deceive the vehicle owner injured the MD Vehicle Inspection

Forms committing a fraud that the rotors, brakes and other mechanical products were in

excellent condition and the vehicle had passed inspection, knowing that not to be or

should have known it to be false.

9). At all times herein mentioned Plaintiff(s) and/or Claimant Dr. Keenan Cofield vehicle

was operated in a reasonable and prudent manner, with due caution and regard for the

motor vehicle laws of the State of Maryland. Defendants/Respondents Passport

Nissan had a duty to Plaintiffs/Claimant Cofield and Thompson to act reasonably.

Respondents Passport Nissan breached that duty.

10). Plaintiff(s) suffered injuries because of the WRONG rear rotors of vehicle.

11 ). At all relevant times, Plaintiff(s) exercised due care for Plaintiff Cofield and his

mother (Laverne Thompson) safety.

12). As a direct and proximate cause of the negligence of Defendants/Respondents

Passport Nissan and its agents, employees action, Plaintiffs suffers from permanent

physical injuries, conscious mental anguish, pain and suffering in the past and in the

future, past medical expenses and future medical expenses.


and

12a). All of the above damages were directly and proximately caused by the

aforementioned negligence of Defendants/Respondents Passport Nissan, and were

incurred without contributory negligence, or assumption of the risk on the part of

Plaintiff/Claimant Cofield, or an opportunity for Plaintiff/Claimant Cofield to avoid the

accident.


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13). on September 24, 2021 @ 3:00 on Pulaski Hwy.

(SECOND MVA}-Vehicle history-The Injured party Dr. Keenan Cofield,
purchased a 2012 Mercedes-Benz/R-Class. The vehicle was allegedly State
inspected. The vehicle was purchased from PASSPORT NISSAN, Suitland, MD. 301-
423-8400. For several weeks after purchase of the vehicle, there was rear noises
with the brakes. After many weeks and phone calls to the dealership, I was able to
get the vehicle inspected and determined the rear brakes needed Both rear brake
rattle clips. The repairs occurred on 05/28/21. Not known at the time, the rear
brake rattle clips needed to be changed because of the wrong rotors on the rear
of the alleged inspected and faulty sold vehicle.

14). The noise returned, but not as bad on both sides. On September 24, 2021, at
around 3:00 pm on Pulaski Hwy. My 82 year old mother (Laverne Thompson) was
in the vehicle. The brakes failed totally, so immediately as a trained first
responder, I located a soft landing spot to stop and slow down the vehicle. I took
the vehicle to a high curb causing the greater impact to be on the left or driver
side, used my forearm to brace myself against the steering wheel and hit the curb
causing my head, neck and other body parts to make a whip lash or neck popping
movement, rocking or snapping back and forth quickly. There was NO immediate
discomfort until hours later when I could not move. I applied various medications
to the affected areas and took pain and other meds until I could be seen. My
FIRST medical exam for the second MVA was 09/27/2021.

                          TOTAL BRAKE FAILURE-WITH INJURIES

15). On 09/29/2021, the vehicle was taken to MONRO BRAKE CENTER on 7870
Eastern Ave. Baltimore. Before any repair work was done pictures were taken at
various angles while the brakes what was left were still intact. MONRO
determined and placed in their Invoice and notes that the vehicle brakes failed on
both sides and the rear right caliper piston failed and the right side rear brake pad
was totally missing which can be seen in photos taken. I was in possession of
those original brakes as evidence. The total costs for those total REAR brakes, new
rotors repair was $1,068.70, and $799.94 for the FRONT brakes and new rotors.


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16). Because of wear and tear on front brakes and rotors due to rear problems
the front brakes and rotors had to be fully replaced.

17). On 11/06/2021, Mr. Chester General Manager of Passport Nissan denied my
claim just relating to the reimbursement of my expenses.

18). The MVA caused me to miss two Federal bankruptcies and civil case
deadlines because I was not able to prepare responses as Ordered by those
Judges, to date. Millions of dollars were at stake. Additionally, I have lost tens of
thousands to several hundred thousand in contracts dollars and various works
directly from the September 24, 2021 MVA accident. Some of my injuries are
permanent with the pains and I may never be the same. Including not being able
to drive or the fear of driving haunts me, always wondering of the brakes will fall
again. Often my daughter and/or brother drive me to most places.

19). As indicated previously I am totally unable to work or function at all at any
level. Preparing this took me almost a week or more finding the strength was not
easy, and the assistance of my Clerk. A Claim and accident report was made to
GEICO my insurance carrier.

 CURRENT AND ON-GOING LISTINGS OF PRIMARY, TREATING,
  EXAMINING AND MEDICAL SPECIALISTS WITH NUMBER OF
  VISITS OF PATIENT DR. KEENAN COFIELD ASSOCIATED WITH
     OR SUSTAINED FROM MVA PERMANENT INJURIES AND
                                 IMPAIRMENTS
20). Dr. Cofield has (22)-visits to Physical Therapy- Cofield is being treated for
iniuries to his Neck, back, lower back, TMJ, both right and left Shoulders and
both hands.

NOTE: All treating and examining physicians recommended and have expanded
PT six (6) times for various other parts of the body due to pain and need for
further PT treatments.



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Dr. Cohen terminated and/or temporarily discontinued (PT) due to pain and
further injury to Dr. Cofield until surgery is performed on both right and left
rotator cuffs.

21). (25)--Psych and Pain Management visits-Dr. Cofield has been diagnosed
with PTSD, depression, anxiety, adiustment disorder, pain, Insomnia. Dr. Cofield
was prescribed Escitalopram 10MG Tablets for anxiety, depression, on or about
11/10/2021, by Dr. C. Nwachukwu, at Aspire. Medstar Family Health Center
upgraded patient Dr. Cofield psych referral is now being seen by Velma Viloria-
Gragoa, MD (Psychiatrist) at MedStar Behavioral Health Center beginning
01/14/2022. (1)-Visit ... Dr. Viloria-Grageda, concurred with the diagnoses
of Aspire psych officials. Dr. Viloria prescribed Trazodone 50mg every
night for depression and sleep for Dr. Cofield.

22). Neurology {8)-visits-Dr. Deidre J. Ammah, MedStar Neurologist ruled and
diagnosed Dr. Cofield with radiculopathy/cervical region, neuropathy, abnormal
NCS & EMG, Cofield has severe to permanent damage to tendons, nerves and
muscles upper body, herniated and bulging discs . In ability to HOLD items in
either hand can be difficult at any time, caused from MVA. Numbness, tingling
and swelling of both hands occurred after the accident and no previous issues
prior thereto. Surgery is required for the C-3, C-4, C-5, C-6, and C-7 discs.

Dr. Ammah, MD referred Dr. Cofield to Dr. Zeena Dorai, a neck and spine
specialist for further evaluation, on 12/13/2021, for 01/27/2021 exam.

23).   PATIENT SLEEPS IN CHAIR BECAUSE OF VARIOUS PAINS &
INJURIES

Patient Dr. Cofield is unable to sleep in his bed any longer due to his injuries from
MVA pains suffered and sustained.

24). Orthopedic (8)-visits-Dr. Alaee, MD, a MedStar orthopedic specialist,
diagnosed Dr. Cofield with Complete rotator cuff tear of left shoulder. Dr. Alaee,
injected Dr. Cofield with a corticosteroid injection in left shoulder. Since this


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report, Dr. Cofield was ordered a MRI in the Right shoulder due to severe pain
recently and it appears there is tendon tear and damage to the right side.

Dr. Alaee, determined that the first MVA on or about 07/20/2021 caused damage
to the Left rotator cuff. It is possible the first MVA accident caused rotator cuff
damage and injuries to Cofield on both Right and Left sides of shoulders and arms.
A MRI determined the Right shoulder findings indicated rotator cuff injury, right
shoulder.

25). Orthopedic Surgeon- (4) visit-Dr. Cohen
Was examined by Dr. Cohen Orthopedic Surgeon on 12/22/21, who confirmed the
rotor cuff tear on the Right side Shoulder, as well as the left. Dr. Cohen
administered a cortisone shot or injection into my right shoulder for pain.


26). ENT/TMJ injury- (4) visit-On 11/30/21, Dr. Alan H. Shikani, ENT specialist
examined Dr. Cofield due to swelling and often lockjaw on left side. Dr. Shikani,
fully examined Cofield and immediately determined Dr. Cofield had a
permanent TMJ injury stemming from the Second MVA on September 24, 2021.
The Family Health Center referred Dr. Cofield to the ENT Center for further
evaluation for TMJ. Follow-up on 12/30/21.

NOTE: It was highly recommended that Dr. Cofield injuries are very serious and
is a life changer as to his diet and many foods he can NO longer consume or eat.
Dr. Cofield can NO longer eat apples and many meats to foods which require
chewing, is prohibited and will cause further permanent damage to the jaw.

27). FAMILY HEALTH CENTER-AFTER HOURS REPORTS-(13) calls or visits

28). FRANKLIN SQUARE HOSPITAL (ER) (4) visits

29). Family Health Center-visits--(19)-Received shot in Right arm due to
severe pains, and unable to move arm, etc. on 12/08/2021. On 12/29/21, Dr.
Pristell issued a indefinite NO work letter, for Dr. Cofield.

SPECIAL DISABILITY OUT OF WORK REPORT--However on 12/22/2021, Dr. Kelsey
Chmielewski, DO because of the MVA injuries and permanent damage to

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impairments, "the patient has limited use of upper extremities which interferes
with functionality at work and he unable to return."

30). MedStar URGENT Care-(8) visits

31). Family Health Center-OMT Clinic/Specialty Treatment-CS) visits---Dr. David
Pierre, and Stephen C. Kane, diagnosed Dr. Cofield with the following:

Spasm of thoracic back muscle
Cervical somatic dysfunction
Somatic dysfunction of thoracic region
Somatic dysfunction of upper extremity region
Somatic dysfunction of lumbar region-All associated with MVA accident.


32). Choice Pain & Rehab Center-(1) visit-Dr. Cofield was seen and examined at
Choice Pain & Rehab Center for a Second Opinion and further specialized
treatment on 12/28/21. Because of back, neck and bulging & herniated discs Dr.
Cofield will be seen for a epidural injection on 1/26/22. It has been recommended
Dr. Cofield will require multiple surgeries to his discs beginning this year.


33). MEDICAL DEVICE LISTINGS DUE TO MVA INJURIES AND

PERMANENT DAMAGE


NOTE: Dr. Cofield has been prescribed the following medical devices for support
due to his many injuries, impairments, and damages sustained as a result of a
MVA, by Defendant/Respondents:

1). Cervical Collar/Neck Brace-Wear at night
2). Back Brace
3). Both Hand Braces
4). Mouth Guard-at night-NEW-ENT Dr.
5). Left Arm Sling
                                     DAMAGES


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LISTINGS OF MEDICAL DIAGNOSES DUE TO MVA BODILY
INJURIES AND PERMANENT DAMAGE TO IMPAIRMENTS
RELATING TO MVA ON SEPTEMBER 24, 2021-BRAKE FAILURE-
VEHICLE SOLD AND OPERATED WITH WRONG ROTORS ON
REAR


34). Adjustment disorder with mixed anxiety and depressed mood-MVA
Adjustment disorder with disturbance of emotion-MVA
Anxiety disorder-MVA
Back spasm-MVA
Bulging & Herniated disc, cervical region, C-3-C-4, C-4-C-5, C-5-c-6, C-6-C-7-MVA
Carpal tunnel syndrome
Cervical disc disease-MVA
Cervical radiculopathy-MVA
Cervical stenosis of spine-MVA
Cervical somatic dysfunction-MVA
Complete rotator cuff tear of left shoulder
Depression-MVA
Epidural Injection for pain back/spine
Impingement syndrome, shoulder, Right-MVA
Impingement syndrome, shoulder, Left-MVA
lnsomnia-MVA
Lumbar herniated disc
Lumbar radiculopathy
Motor Vehicle accident
Neck pain
Numbness and tingling of both right and left hands-MVA
Parenthesis of hands, bilateral
Permanent injury, damage or impairments to nerves, tendons, and muscles-MVA
PTSD-MVA
Rotator cuff tear of right shoulder-MVA
Shoulder pain, Right-MVA
Shoulder pain, Left-MVA
Sensori motor neu ropathy-MVA
Somatic dysfunction of thoracic region-MVA


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Somatic dysfunction of upper extremity region-MVA
Somatic dysfunction of lumbar region-MVA
Shoulder pain, left-MVA
Spondylosis of cervical spine-MVA
Temporomandibular joint (TMJ) pain
Upper back pain-MVA

35). The Defendants or Respondents at Passport Nissan owed a duty of care to the

claimant/vehicle owner, to be able to operate a used vehicle that is safe to operate in a

reasonable and prudent manner.

36). The Crash and brake failures was directly and proximately caused by the

negligence of Passport Nissan, their employees, staff, and others who's failure to

inspect the vehicle the wrong rotors which caused the brakes to fail before selling of the

vehicle the subject of this Claim.

37). Plaintiff(s) personal injuries were directly and proximately caused by Passport

Nissan agents and employees negligence. Plaintiffs/Claimant suffered serious, painful

and permanent bodily injuries, great physical pain and mental anguish, serve emotional

distress, as Plaintiff or Claimant Dr. Keenan Cofield is not able to go back to work and is

precluded from engaging in normal activities and pursuits, including a loss of ability to

earn any and actual earnings from his brand NEW non-profit organization, to other

business interests, etc ..

38). Defendants and/or Respondents of Passport Nissan is liable for Plaintiff(s) injuries

and damages sustained, pain and suffering, and all other elements of damages allowed

under the laws of the State of Maryland.




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39). Defendants or Respondents of Passport Nissan and their agents thereof, conduct

and actions evidence of bad faith, and negligence were and are stubbornly litigious, and

have caused Plaintiff(s) undue expense.

                                           COUNT 2

        COMPLAINT FOR FAILURE TO PROPERLY TRAIN AND SUPERVISOR

40). The Plaintiff(s) do hereby adopt, reassert and incorporate paragraphs 1-39, in

further support of COUNT 2, and says the following:

41 ). The Plaintiffs state that the Defendants each failed to train and/or properly train and

Supervisor Defendants Respondents of Passport agents, employees of their policy and

State laws which states and/or mandates that every time any vehicle before it is sold

and released, must be inspected, according to state law. If the Respondents of

Passport had conducted a legally proper and accurate inspection of the rotors and

brakes that would have discovered the vehicle was sold with the wrong rotors that

caused total brake failure with serious and permanent injuries to Claimant Cofield for

life.                                      COUNT 3

                      COMPLAINT FOR NEGLIGENT ENTRUSTMENT

42). The Plaintiff(s) do hereby adopt, reassert and incorporate paragraphs 1-41, in

further support of COUNT 3, and says the following:

43). The injuries, harm, and damages were incurred by the Plaintiffs/Claimants as a

result of the sale of a vehicle that had not been properly or legally inspected that had

the wrong rear rotors on it which caused the rear brakes to totally fail and fronts brakes

and rotors had to be replaced because of wear and tear from the back brakes.




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44). The Defendants/Respondents knew, or should have known that Plaintiff/Claimant

Dr. Cofield would likely to operate a motor vehicle they sold to Claimant that would or

could operate in a faulty, negligent and reckless manner causing possibly serious or

permanent injuries which is the case at bar.


45). As a direct result of Defendants/Respondents negligently entrusting the un or

improperly inspected vehicle selling the defective vehicle to Plaintiff/Claimant Cofield,

based upon falsified and/or false MD Motor Vehicle Inspection records such negligence

caused serious and permanent bodily injuries to Claimant Dr. Cofield, who did suffer the

injuries, damages, and harm as previously described in paragraphs 1-44 of this Claim.


                                     COUNT 4, 5 AND 6

              COMPLAINT FOR STRICT PRODUCT LIABILITY
COMPLAINT FOR DEFECTIVE AUTO, BREACH OF WARRANTY, MOTOR VEHICLE
                WARRANTY, BREACH OF CONTRACT

46) . The Plaintiff(s) do hereby adopt, reassert and incorporate paragraphs 1-45, in

further support of COUNT 4, and says the following :

47). At all ties mentioned in this Claim or Complaint, the motor vehicle described herein

and later sold to Plaintiffs/Claimant with defective rear rotors and brakes as to the wrong

rotors were placed on the vehicle when the last owner and/or Respondents needed to

repair the vehicle, causing the vehicle, rear brakes and rotors to be in a dangerous and

defective condition that made the vehicle unsafe for their intended use and sale.


48). As a direct and proximate result of the wrong rotors on the rear of the above

described vehicle with defective rotors causing a total break failure, Plaintiff/Claimant

suffered serious injuries, damages, as outlined above herein which caused or resulted



                                             13
        Case 1:23-cv-01795-JKB Document 23-1 Filed 07/19/23 Page 18 of 33


in loss of wages, pain and suffering, permanent disability, medical expenses and

mountains of losses in the millions of dollars. Plaintiff/Claimants was damaged by said

defects. Plaintiff/Claimant was damaged by said breach of the implied warranties and is

entitled to recover therefor. The Respondents of Passport Nissan failed to repair the

defects and/or properly inspect the vehicle before it was sold as is as the express

warranties and contracts were breached causing the defects to cause serious to

permanent injuries to Plaintiff/Claimant, therefor causing the warranties to fail to perform

and protect the Claimant Cofield, or fulfill the intended purpose, and the

Plaintiff/Claimant Dr. Cofield has consequently been damaged, and Plaintiff pr Claimant

is entitled to recover.


49). The Defendants/Respondents failed to and had several opportunities to cure or fix

the defects. The Defendants/Respondents of Passport Nissan failed to make the vehicle

for for the purpose for which it was sold and intended, was sold as is with the wrong

rear rotors that caused serious and permanent injuries to Dr. Cofield for life.


Claimant has the original photos of the vehicle before, during and after the brakes

were removed in a safe secured location. Claimant also has photographs of the

entire location of the brake failure and mountains of medical reports, MRl's and

other reports are continuing in nature. Plaintiff/Claimant also has photographs

that show when the brake likes came on and brake fluid levels at time of brake

failure and accident.


                           RELIEF REQUESTED



                                             14
          Case 1:23-cv-01795-JKB Document 23-1 Filed 07/19/23 Page 19 of 33


50). The Plaintiffs demand and seek judgment in their favor for $3,500,000 million

Dollars in Compensatory Damages against each Defendant(s) and $10,000,000

million Dollars in Punitive Damages against each Defendants named herein for

COUNTS 1-6, separately and independently.


                                 AMENDED RELIEF

51). Plaintiff(s)/Claimant Dr. Keenan Cofield and mother Laverne Thompson
demands against Passport Motors, and any and all others to and is entitled to
recover for and/or BESTOFFER in the amounts set forth below:

Laverne Thompson only seeks damages for pain and suffering of $25,000 dollars
for being 82 years old in the front passenger seat when the brakes failed.

Pain and Suffering-MD Maximum-$905,000 dollars
Personal injuries-$15,000,000 dollars
Past, present, and future pain and suffering-$2,500,000 dollars
Disability-$20,000,000 dollars
Emotional distress-$5,000,000 dollars
Disfigurement-$15,000,000 dollars
Mental Anguish-$2,500,000 dollars
Loss of capacity for the enjoyment of life-$15,000,000 dollars
Economic losses-$2,000,000 dollars
Incidental expenses-$350,000 dollars
Past, present, and future medical expenses-$2,500,000 dollars
Lost earnings-$10,000,000 dollars
Loss of earning capacity-$10,000,000 dollars
Permanent injuries-$15,000,000 dollars
Con seq uentia I da mages-$1,000,000 dollars
Loss of Court Bankruptcy Orders and Court Judgments-Appeals, etc.-$5,000,000
dollars
Repair Bills for brakes and rotors-$1870.00.



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        Case 1:23-cv-01795-JKB Document 23-1 Filed 07/19/23 Page 20 of 33


52). AMENDED ADDITIONAL RELIEF-Plaintiffs/Claimants demand that the
Respondents of Passport Nissan fully pay off Claimants vehicle that is left on the
loan pending. Approximately $15,000 dollars.


53). Medical bills are between $75,000 and $100,000 dollars plus and continuing
for life.


54). DEMAND FOR TRIAL BY JURY ON ALL COUNTS


55). The Plaintiff(s) and his mother losses were, are and will be due to the
carelessness and negligence of Defendants/Respondents Passport Nissan
employees, salespersons, and agents staff, without any negligence or want of due
care on the Plaintiff(s) part contributing to harm done. Plaintiff Dr. Cofield is now
a forced disabled psych doctor, personal injury & Domestic Urban Terrorism
expert, International News Director and State Lobbyist.


Dated this the 2th day of April, 2022


                          VERIFICATION OF COMPLAINT


I, Dr. Keenan Cofield do hereby certify that the above and foregoing VERIFIED
COMPLAINT is true and correct to the best of my knowledge, information and
belief, under the penalty of perjury and that I am over the age of (21) years and I
am competent to testify to the alleged facts herein. THIS CLAIM IS SUBJECT TO
BE AMENDED AND/OR SUPPLEMENTED AS MEDICAL TREATMENTS, AND OTHER
SERVICES CONTINUE.


The Plaintiffs/Claimants assert and feel confident that this matter can be
resolved to the satisfaction of all parties quietly without the need for any long
drawn out litigation. But if necessary the Claimant is ready to file a lawsuit and
issue Press Releases if forced to do so.


The Respondents make a fair and reasonable offer, this matter is over.

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       Case 1:23-cv-01795-JKB Document 23-1 Filed 07/19/23 Page 21 of 33




Dr. Keenan C field, JD/Ph.D
4109 Cutty Sark Rd.
Middle River, MD 21220
443-554-3715
Email: Supremegra nd bishop@gma il.co m




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    Case 1:23-cv-01795-JKB Document 23-1 Filed 07/19/23 Page 22 of 33




EXHIBIT-1
PASSPORT NISSAN 06/04/2021
REAR BRAKES RATTLE CLIPS REPAIR TICKET
INVOICE
                                                Case 1:23-cv-01795-JKB Document 23-1 Filed 07/19/23 Page 23 of 33
                                                                                     :-.l\SSPORT NISSA~                                                                                   4


                                                                              5000 AUTH WAY SUITLAND, MD 20746
                                                                                     MAIN LINE 301-423-8400
                                                                     SERVICE HOURS MONDAY THRU FRIDAY 7:30 A.M. - 6:00 P.M.
                                                                               EXPRESS SERVICE 6:00 P.M. - 8:00 P.M.
                                                                                  SATURDAY 8:00 A.M . - 5:00 P.M.
                                                                                                                    www.passportauto.com



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                                                                            MAIN LINE 301-423-8400
                                                                 HOURS MONDAY THRU FRIDAY 7:30 A.M. - 6:00 P.M.
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   Case 1:23-cv-01795-JKB Document 23-1 Filed 07/19/23 Page 25 of 33




   XHIBIT-2
MO NRO BRAKE & TIRE CE NTER
09/29/202 1 AND 11/12/2021
REAR BRAKES & ROTORS AND FRONT BRAKES &
ROTORS INVOICES
                             Case 1:23-cv-01795-JKB Document 23-1 Filed 07/19/23 Page 26 of 33
                                                     MONRO MUFFLER/8~ KE & SERVICE



MONFcO                                               7870 EASTERN AVE.                         PAGE                                       1

                                                     SHOP 417
                                                     BALTIMORE,MD 21224
                                                     (410)285-7576
AUTO SERVICE /f#fd TIRE CENTERS

3uest ID:        0417519921                       Year:        2012                              Datemme :           09/29/21 15:30:10
\lame:           KEENAN COFIELD                   Make:        MERCEDES-BENZ                     Estimate#:           552027
\ddress:         4109 CUTTY RD                    Model:       R3504MATIC                        Invoice#:            479996
~ddress 2:                                        Lie No:      TEMP                              PO Number:
::ity,State,Zip: BALTIMORE , MD, 21220            VIN:         GET                               Unit Number:
-iome Phone: (443) 554-3715                       Color:                                         Email Address:      none
Nork Phone: () -                                  Engine:      V6 3.5L 24V DOHC ID-276.958       Fleet/Wholesale:    N
)ther Phone: () -                                 Mileage In: 62151                              Est Created On:     09/25/21 13:02:48
 ·ax Exempt #:                                    Mileage Out: 62151
 /1anager:       CHRISTOPH FAULCON                Inspect Due: 09/01/21

;ervices Requested:
   CHECK BRAKES
                                     Car
tty.Part#                            Loe           Description                                                 Part        Labor     Amount

ire Pressure Spec: Not Available   Wheel Torque: Not Available


ICLUDED WITH EVERY VISIT
  Cl                                         COURTESY INSPECTION                                                                NO CHARGE
  SM                                         SCHED. MAINT. REVIEW                                                               NO CHARGE

 :RVICE
   MEMO                              COMMENTS                                                                                   NO CHARGE
   REAR RIGHT CALIPER HAD NO BRAKE PAD IN THE FRONT OF THE CALIPER. REAR RIGHT CALIPER
   PISTON WAS PUSH OUT AND BRAKE FLUID COVER THE WHEEL
                                     TOTAL SERVICE:                                                                                        0.00

 t4KES
   OUTDS                    B      13442 DISC PADS                                                    61 .13                0.00          61.13
   OUTBRAKEPAD              B     GMKD1122 BRAKE PADS                                                119.99                80.00         199.99
   REAR BRAKE PADS GROOVED THE ROTORS ON BOTH SIDE OF THE VEHICLE THEY WERE THE WRONG ROTOR
   CAUSE PAD TO FALL OUT
   OUTR                     8     YH200529 BRAKE ROTOR                                               112.00                38.00         300.00
   BFF                      B     BRAKE FLUID EXCHANGE                                                65.99                69.00         134.99
   L0335                    B     Clean and Lube Caliper Slides and braking system on opposite axle.   0.00                49.00          49.00
                                   Adjust brakes where applicable.
                              TOTAL REAR BRAKES:                                                                                         745.11

   OUTCAl                                    CALIPER                                                        243.23         37.50      280.73
                                                  OVERALL                                                                             280.73
                                             TOTAL BRAKES:                                                                          1,025.84

  Customer Wishes To Discard Old Parts ""*



  'TYPE : VISA 500.00 Date: 9/29/2021 APPROVAL#: 75209B ENTRY: CHIP
  :DIT CARD#; XXXX-XXXX-XXXX-7964
  : A0000000031010 Terminal ID: 090505001




                                   SEE NEXT PAGE
                                        INVOICE INVOICE          MONRO MUFFLER/BRAKE & SERVICE   INVOICE




                                                                    CUSTOMER COPY
                               Case 1:23-cv-01795-JKB Document 23-1 Filed 07/19/23 Page 27 of 33
                                                       MONRO MUFFLER/F \KE & SERVICE



MONliO                                                                        7870 EASTERN AVE.                                                              PAGE     2

                                                                              SHOP 417
                                                                              BALTIMORE,MD 21224
                                                                              (410)285-7576
AUTO SERVICE                   /llfd TIRE CENTERS
Guest ID:     0417519921                                Year:        2012                                                      Date/Time:         09/29/21 15:30:10
Name:          KEENAN COFIELD                           Make:        MERCEDES-BENZ                                             Estimate#:          552027
Address:        4109 CUTTY RD                           Model:       R3504MATIC                                                Invoice#:           479996
Address 2:                                              Lie No:      TEMP                                                      PO Number:
City,State,Zip: BALTIMORE, MD, 21220                    VIN:         GET                                                       Unit Number:
Home Phone: (443) 554-3715                              Color:                                                                 Email Address:     none
Nork Phone: O•                                          Engine:      V6 3.SL 24V DOHC ID-276.958                               Fleet/Wholesale:   N
::ither Phone: () -                                     Mileage In: 62151                                                      Est Created On:    09/25/21 13:02:48
rax Exempt#:                                            Mileage Out: 62151
v1anager:       CHRISTOPH FAULCON                       Inspect Due: 09/01/21

iervices Requested:
   CHECK BRAKES
                                         Car
Uy. Part#                                Loe             Description                                                                         Part       Labor     Amount




                                                INVOICE      INVOICE       MONRO MUFFLER/BRAKE & SERVICE                       INVOICE
                                                                                                                                         SUB TOTAL               1,025.84
  :H: 001396-0. 00      B. ROSI1ZKY                                                                                                      SALES TAX                  42.86
                                                                                                                                         GRANO TOTAL             1,068.70



         All parts are new unless otherwise specified. Please see reverse for warranty details.
         I acknowledge that this invoice is for services rendered by [Monro Inc.] and now, in acceptance of such service, make payment in the amount set forth on
         this invo ice. If there was an increase in the original estimated price,
         I acknowledge notice and approval of such increase. X - - - - - : : : : , - . . , . . . , , , . , - - - - , - - - - - - - - - - - - - - - - - - - - - - -
                                                                                  Guest Signature
         I certify that all repairs were properly completed. - - - - - - - - : : - - - - : - - : : - - - : - - : - : - - - : - - - - - - - - - - - - - - - - - - -
                                                                                co_mpany Authorized Representative
         CAUTION: Owners of Mag, Custom, Alloy, or Dual Wheels must have lug-nuts retorqued after 25 miles or 24 hours!
         The Company will gladly retorque these lug-nuts once after the first 2S miles at no charge. X------=--:,--:-:"""C'""---------
                                                                                                                   Guest Initials
                                                                                                  _fi-fl-1
                                               Did you h11\'c o 5-stnr \'isit 1oduy'! Let us knnw ~:..~~-g!c   ITT faceboat,
                                                                                                                **rlr*

               AMT
               500.00 9/29/2021
               580.00 9/29/2021
    GE          (11 .30) 9/29/2021

    :.NT COLLECTED BY: C. FAULCON



                                                                                CUSTOMER COPY
                                    Case 1:23-cv-01795-JKB Document 23-1 Filed 07/19/23 Page 28 of 33
   MONRO
   . , _,__._'"'--9
                    T R E ' ~ MR.'\J'fl!P'[§
                           t't!ITO!;E11Vlr:Ect!ttnms   AUTO 51DNICt C.tN'tfJIS




    COURTESY INSPECTION I ~M~ MOTORIST.ORG                                                                                                            ESTIMATE#

   NAME                                                                      PLATE                               INSPECTION DUE . _ _ _ __

   VIN #        I.        I.I                                                                           I I      ENGINE SIZE                                   SOHC         DOHC    OHV    HYBRID    DIESEL


   DASHBOARD LIGHTS {CIRCLE ANY CURRENT!.,YON):                                      U) ~ (0) ~f IQ                              OTP.ER
   HUBCAP(S) MISSING?                  ______                                WINDSHIELD CRACKED?                ______                            SCRATCHES/DENTS?

   WIPERBLADES              ■       lfil 00 !ID 00 l1ilJ lifil Im                HEADLIGHTS         ■   III 00 lfil 00 Iii I@ !Kfil        MINILIGHTS                   ■   III 00 lfil !@I Ir;! [fJ !ID

                                                                                                                                                      BRAKE CHECKUP
                                                                                                                              (DISC) 6MM OR GREATER OR {DRUM) 2.4MM OR GREATER


     RUN FLAT           Y N           TPMS         Y   N        FWD RWD 4WD/AWD

    " LFTIRI;                                 PSIIN        CIRCLE ALL THAT APPLY                                   .      "                            '                              ' '
                                                           EDGEWEAR                 CRACKING                     '■ 0         IE! LF PAD              ! . ,,            INNER      - -'-'--.~-· _ OUTER
                                                           CUPPING                  PUNCTURE                         cho
                                                                                                                  11111  -.. . , LF ROTOR
                                                                                                                                                           ·····•,-c-       ACTUAL     _ _ __ DISCARD
                                                           CUTS                     REPAIRABLE
                                                           IRREGULARITY             NON-REPAIRABLE               >11 'tJ [) RF PAD                                      INNER      --'
                                                                                                                                                                                     \.'-".
                                                                                                                                                                                         [ ~~-' _OUTER
                                                                                                                 '· ■ 0,. .·'.!Cr           _ _~_-_- _.. _                  ACTUAL


    ,~
                                                                                                                                                                                       _    _ _ _ DISCARD
                                              PSIIN        CIRCLE ALL THAT APPLY                                               . . RF ROTOR
                                                                                                                                         ;
                                                           EDGEWEAR                 CRACKING
    1.--....j                                                                                                                                                                                       OUTER
                                                           CUPPING                  PUNCTURE
                                                                                                                                                                                          _ _ _ _ DISCARD
      OUTER                                                CUTS                     REPAIRABLE
       DEPTH                                PSI OUT        IRREGULARITY             NON-REPAIRABLE
                                                                                                                 . •Iii O [] L.R P~ [f ' - , - - - -. i1N~E¥,i - - - - OUTER
                                              PSIIN        CIRCLE ALL THAT APPLY                               ·, • 0 [J LR ROTOR1~ ·_···_···_·-_ _ _ ACTUAL                           - - - - DISCARD
                                                           EDGEWEAR          CRACKING



                                            PSI OUT
                                                           CUPPING
                                                           CUTS
                                                           IRREGULARITY
                                                                                    PUNCTURE
                                                                                    REPAIRABLE
                                                                                    NON-REPAIRABLE
                                                                                                                  • III 111 IIl @ Im lfil Im BRAKE HARDWARE/ADJUSTER
                                                                                                                 :■ II] [ID 00 @ ~~rm BRAKE HOSE(S)/LINES
                                                                                                                 ;■ III III IIl @ [ill Im Im MASTER CYLINDER
                                                           CIRCLE ALL THAT APPLY
                                                                                                                 [■ IIl 111 IIl @ lifil Im Im CALIPERS/WHEEL CYLINDERS
                                                           EDGEWEAR
                                                           CUPPING
                                                           CUTS
                                                           IRREGULARITY
                                                                                    CRACKING
                                                                                    PUNCTURE
                                                                                    REPAIRABLE
                                                                                    NON-REPAIRABLE
                                                                                                                  .
                                                                                                                 !■ II] [ID 00 @ CTJ !ID fill SEALS/BEARINGS
                                                                                                                    IIl 111 IIl @ !EI !ID [ID PARKING BRAKE/CABLES
                                                                                                                               STEERING AND SUSPENSION CHECKUP
     ■

     ■
           0
           0
                     l!lllf TIRE MAINTENANCE. ROTATION
                   liEJ ALIGNMENT CHECK
                ENGINE AND EXHAUST SYSTEMS CHECKUP
                                                        MAINTENANCE
                                                                          BALANCE

                                                                                 TIRE WEAR                        .
                                                                                                                 ,■ IIl 00 IIl @           mt Im Im IDLER/PITMAN ARM
                                                                                                                       III lID III @ lliJ [ill @ BUSHINGS/LINK PINS
                                                                                                                  ii III 111 00 @J !Eli IIDI ~ TIE ROD ENDS
     ■   III III 00 @ lifil Im !ID AIR FILTER                                                                     •    IIl 00 !ID HJ 1¥J IID Im SHOCKS/STRUTS
                                                                                                                  ■ III 00 00 HJ ~ 1ml !ID BALL JOINTS/CONTROL ARMS
     ■   III 111 00 @ !ill [ID !ID CABIN AIR FILTER                                                               1111 m111 rn m lfil !ID !ID CV JOINTS/BOOTS/U.JOINT
     ■   III 00 00 @ !ID Im Im WASHER FLUID
                                                                                                                  ■    ffl 111 IIl @ [W Im !ID RACK/PINION
                                                                                                                  '•
     ■   III 111 00 @ WJ IID !ID POWER STEERING FLUID
                                                                                                                      MOTORIST ASSURANCE PROGRAM (MAP) CODES ·
     ■   IIl 00 IIl Ill IE !ID !ID OIL LEVEL GOOD BETTER BEST ULTIMATE
    II II] 00 [!] @ !Et.l lID Im BRAKE FLUID                     PPM
                                                                                                                 - .
                                                                                                                                                                   OKAY



    ••
                                                                                                                                                                                                       .
         III 111 IIl @ IFJ lill !ID COOLANT LEVEL            FREEZE"                                              CHECKED AND ACCEPTABLE
         III 111 IIl @ imimrm TRANSMISSION SERVICE
                                                                                                                                      REPAIR/REPLACEMENT SUGGESTED
    ■ II) 111 [!] @ Im !ID@ COOLANT HOSES
    ■ IIl 00 IIl @ @ Ill !ID BELTS
                                                                                                                  1. CLOSE TO END OF USEFUL LIFE


    •
                                                                                                                  2. ADDRESS CUSTOMER REQUEST NEED/CONVENIENCE
         II) 111 IA) @ [J Ill Im BELT TENSIONER                                                                   3. COMPLY WITH MANUFACTURER
                                                                                                                  4. TECHNICIAN RECOMMENDATION FROM EXPERIENCE
    ■ IIJ 111 IIl @ ~ !ID Im BATTERY/TEST                                                                       l , - - - -- - -::;,~~-;,-~~-;-.., ---:--,--- - - - - - -- ----t1
    •    IIl III IIl @ lrJ rm tm BATTERY ACCESSORIES
    ■ -~ IIl
          -~ 111 IIl @ lfil Im !ID EXHAUST                                                                        A. NO LONGER PERFORMS INTENDED PURPOSE
                                                                                                                  B. DOES NOT MEET DESIGN SPECIFICATION
                                                                                                                                                                                                                   •!


         .:     --·-                                                                         l.·,   <             C.MISSING
  ~(?TES: / '      /?L:~ -;:-
             '                                                                                                  FLUIDS AND FILTER _ _ _ INITIAtS-:-·_ _ _ CERTIFIED BY
:· . ·[·--· -t-· .!.. -<_
                        .-~_~.:-:                                                                               TORQUE SPECS          ; ~.--. .. :,    LBS .( ~<~~/~.' ,. ·· INmALS         _ _ _ CERTIFIEDBY
  NAME                                                                                                          DOUBLE-CHECKED.FOR ACcuki.sy, )
   DATE                                                                                                                                                                                                       550071
                           Case 1:23-cv-01795-JKB Document 23-1 Filed 07/19/23 Page 29 of 33
                                                  MONRO MUFFLER/B~ J<E & SERVICE



MONRO
                                                                                             PAGE                                                     1
                                                  7870 EASTERN AVE.
                                                  SHOP 417
                                                  BALTIMORE,MD 21224
                                                  (410)285-7576
lUTO SERVICE /fltli, TIRE CENTERS

luest ID:   0417519921                            Year:        2012                                          Date/lime :         11/12/21 14:47:41
lame:       KEENAN COFIELD                        Make:        MERCEDES-BENZ                                 Estimate#:          552805
ddress:        4109 CUTTY RD                      Model:       R350 4MATJC                                   Invoice#:           480447
ddress 2:                                         Lie No:      TEMP                                          PO Number:
lty,State,Zlp: BALTIMORE, MD, 21220               VIN:         GET                                           Unit Number:
ome Phone: (443) 554-3715                         Color:                                                     Email Address:      none
fork Phone : O-                                   Engine:      V6 3.5L 24V DOHC ID-276.958                   Fleet/Wholesale:    N
ther Phone: () -                                  Mileage In: 64130                                          Est Created On:     11/12/21 10:13:16
3X Exempt#:                                       Mileage Out: 64130
 anager:       CHRISTOPH FAULCON                  Inspect Due: 11/01/21

Hvices Requested:
 CHECK BRAKES
                                      Car
ty. Part#                             Loe         Description                                                              Part        Labor     Amount

re Pressure Spec: Not Available   Wheel Torque: Not Available


 CLUDED WITH EVERY VISIT
   Cl                                        COURTESY INSPECTION                                                                            NO CHARGE
   SM                                        SCHED. MAINT. REVIEW                                                                           NO CHARGE

 :RVICE
   BI                                        INSPECT BRAKES                                                                                 NO CHARGE
                                             TOTAL SERVICE:                                                                                       0.00

 lAKES
  OUTBRAKEPAO                      F       GNAD1123 BRAKE PADS                                                           119.99         80.00        199.99
  OUTR                             F       YH200528 BRAKE ROTOR                                                          112.00         38.00        300.00
  BFF                              F        BRAKE FLUID EXCHANGE                                                          65.99         69.00        134.99
   L0335                           F       Clean and Lube Caliper Slides and braking system on opposite axle.              0.00         49.00         49.00
                                            Adjust brakes where applicable.
  OUTBR                             F       BRAKE SENSOR                                                                  47.19          0.00         47.19
                                      TOTAL FRONT BRAKES:                                                                                            731.17

                                              TOTAL BRAKES:                                                                                          731.17
 ;cELLANEOUS
   FEE                                    SHOP SUPPLY FEE This charge represents costs and profits to the                39.00           0.00        39.00
                                           motor vehicle repair facility for miscellaneous shop supplies or waste
                                          a1sposa1.
                                   TOTAL MISCELLANEOUS:                                                                                               39.00

  :ustomer Wishes To Discard Old Parts --



  TYPE: VISA 799.94 Date: 11/12/2021 APPROVAL#: 528177 ENTRY: CHIP
  :□ IT CARD#:XXXX-XXXX-XXXX-9105
  A0000000980840 Terminal ID: 090505001




                                  SEE NEXT PAGE
                                            INVOICE   INVOICE    MONRO MUFFLER/BRAKE & SERVICE               INVOICE

                                                                      CUSTOMER COPY
                               Case 1:23-cv-01795-JKB Document        Filed 07/19/23 Page 30 of 33 PAGE
                                                                 23-1 AVE.
                                                      IO I U t:A~TERN                                                                                               2



l•IUNKU
    fl#ld
lUTO SERVICE                            TIRE CENTERS
                                                      SHOP 417
                                                      BALTIMORE,MD 21224
                                                      (410)285-7576



uest ID:     0417619921                                Year:        2012                                                 Datemme:           11/12/21 14:47:41
ame:         KEENAN COFIELD                            Make:        MERCEDES-BENZ                                        Estimate #:        552805
ddress:        4109 CUTTY RD                           Model:       R3504MATIC                                           Invoice#:          480447
:ldress 2:                                             Lie No:      TEMP                                                 PO Number:
ity,State,Zip: BALTIMORE, MD, 21220                    VIN:         GET                                                  Unit Number:
ome Phone: (443) 554-3715                              Color:                                                            Email Address:     none
rork Phone: () -                                       Engine:      V6 3.5L 24V OOHC ID-276.958                          Fleet/Wholesale:   N
ther Phone: () -                                       Mileage In: 64130                                                 Est Created On:    11/12/21 10:13:16
,x Exempt#:                                            Mileage Out: 64130
 ~nager:       CHRISTOPH FAULCON                       Inspect Due: 11/01/21

,rvices Requeste d:
 CHECK BRAKES
                                        Car
y.Part #                                Loe             Description                                                                     Part        Labor       Amount




                                               INVOICE      INVOICE      MONRO MUFFLER/BRAKE & SERVICE                   INVOICE
                                                                                                                                   SUB TOTAL                       770.17
  H: 001396-0.00      B. ROSITZKY                                                                                                  SALES TAX                        29.77
                                                                                                                                   GRAND TOTAL                     799.94



       All parts are new unless otherwise specified. Please see reverse for warranty details.
       I acknowledge that this invoice is for services rendered by [Monro Inc.) and now, in acceptance of such service, make payment in the amount set fo rth on
       this invoice. If there was an increase in the original estimated price,
       I acknowledge notice and approval of such increase.x _ _ _ _        -=-..,..-;,;~--:-----------------------
                                                                               Guest Signature
       I certify that all repairs were properly completed. - - - - - - ~ - - " . - . ~ ~ - - - - - - - - - - - - - - - - - - - - -
                                                                         Co!"pany Authorized Representative
       CAUTION: Owners of Mag, Custom, Alloy, or Dual Wheels must have lug-nuts retorqued after 25 miles or 24 hours!
       The Company will gladly retorque these lug-nuts once after the first 25 miles at no charge, X------=--=-....,....,----------
                                                                                                           Guest Initials
                                                                                                3~
                                              Did \'OU 1t11,,c 11 S-star visit todnv"! Let us know Co ••~le llr.ccbook
                                                  •                           •                 MC"lfl:", l.-        *
                                                                                                                . ....




             AMT
            799.9411/12/2021

   ::NT COLLECTED BY: C. FAULCON




                                                                              CUSTOMER COPY
                Case 1:23-cv-01795-JKB Document 23-1 Filed 07/19/23 Page 31 of 33
IN THE CIRCUIT COURT FOR -
                         .udltimore City                                                              GI
                                                        c ;-1y-or~ C~o-u n-ty~) - - - -- - - - - - - --=
                           - - - - - ''------- - -- - -(=

                 CML - NON-DOMESTIC CASE INFORMATION SHEET
                                                       DIRECTIONS
     Plaintiff: This Information Report must be completed and attached to the complaint filed with the Clerk of Court unless
 your case is exempted from the requirement by the Chief Judge of the Court of Appeals pursuant to Rule 2-11 l{a).
    Defendant: You must file an Information Report as required by Rule 2-323(h).
                          THIS INFORMATION REPORT CANNOT BE ACCEPTED AS A PLEADING
 FORM FILED BY: 1'51 PLAINTIFF □ DEFENDANT                                  CASE NUMBER - - ~ . . . - - - r - . , - . -___,..- - -i
 CASE NAME: DR. KEENAN COFIELD, et. al.                                vs.     PASSPORT MOTORS H5fi5f'N'i}egj INC .. et.
 PARTY'S NAME: DR. KEENAN ct'JfYELD                                                     PHONE: _._
                                                                                               44..,..3.......
                                                                                                        ~$"'-~4--'~~             15'--_ _ __
                                                                                                                  ----'""----'-7......
 PARTY'S ADDRESS: 1236 KENDRICK RD. ROSEDALE MD 21237
 PARTY'S E-MAIL: Supremegrandbishop@ gmail.com
 If represented by an attorney:
 PARTY'S ATTTORNEY'S NAME: _ _                 _   _   _ _ _ _ _ _ _ _ _ PHONE: _ __ _ __ _ _ _ 1
 PARTY'S ATTTORNEY'S ADDRESS: _ __                     _ _ __        _ _ _ _ _ __               _ 91---Y--M-=..,w:,....;_'--'----11+...._-='~
 PARTY'S ATTTORNEY'S E-MAIL:             - - - -- - -- - ---=ii -=E!!!!!!!!!:'!.._C"""'-'--F_
                                                                                            ,, l_V
                                                                                                 -"'·f-__lK_,,,!Yo/~·,
 JURY DEMAND? 181 Yes □ No
 RELATED CASE PENDING? □ Yes ~ No If yes, Case #(s), ifknown: _ _ __ __ ~wt~-!Jr-~rl!'l'---                                             --=s!i
 ANTICIPATED LENGTH OF TRIAL?:                hours 2         days
                                            PLEADING TYPE
 New Case:       ~ Original          □ Administrative Appeal       D Appeal
 Existing Case: □ Post-Judgment     O Amendment
         in an existin       ·                              ·      o to Relief section.
                       IF NEW CASE: CASE CATEGORY/SUBCATEGORY Check one box.
TORTS                           0 Government                     PUBLIC LAW                          D Constructive Trust
D Asbestos                      0 Insurance                      0 Attorney Grievance                0 Contempt
0 Assault and Battery           D Product Liability              0 Bond Forfeiture Remission         0 Deposition Notice
D Business and Commercial                                        0 Civil Rights                      0 Dist Ct Mtn Appeal
0 Conspiracy                    PROPERTY                         0 County/Mncpl Code/Ord
                                0 Adverse Possession                                                 0 Financial
D Conversion                                                     0 Election Law                      D Grand Jury/Petit Jury
0 Defamation                    0 Breach of Lease                □Eminent Domain/Condemn.
                                D Detinue                                                            0 Miscellaneous
0 False Arrest/Imprisonment                                      D Environment                       D Perpetuate
0 Fraud                         0 Distress/Distrain              0 Error Coram Nobis
                                0 Ejectment                                                          Testimony/Evidence
□ Lead Paint - DOB of                                            D Habeas Corpus                     D Prod of Documents Req.
  Youngest Pit: _ __            0 Forcible Entry/Detainer        □ Mandamus
                                0 Forclosure                                                         D Receivership
0 Loss of Consortium                                             0 Prisoner Rights                   0 Sentence Transfer
0 Malicious Prosecution           D Commercial                   0 Public Info. Act Records
                                  0 Residential                                                      0 Set Aside Deed
0 Malpractice-Medical                                            D Quarantine/Isolation              0 Special Adm. - Atty
D Malpractice-Professional        D Currency or Vehicle          0 Writ of Certiorari
                                  0 Deed of Trust                                                    0 Subpoena Issue/Quash
0 Misrepresentation                                              EMPLOYMENT                          0 Trust Established
0 Motor Tort                      0 Land Installments
                                  D Lien                         □ ADA                               D Trustee Substitution/Removal
~ Negligence                                                     D Conspiracy                        D Witness Appearance-Compel
D Nuisance                        0 Mortgage
                                  0 Right of Redemption          □ EEO/HR                            PEACE ORDER
□ Premises Liability
                                  D Statement Condo              □ FLSA                              0 Peace Order
~ Product Liability
                                D Forfeiture of Property /       □ FMLA
D Specfic Performance                                            D Worker's Compensation             EQUITY
0 Toxic Tort                      Personal Item                                                      0 Declaratory Judgment
                                0 Fraudulent Conveyance          D Wrongful Termination
0 Trespass                                                                                           0 Equitable Relief
0 Wrongful Death                0 Landord-Tenant                 INDEPENDENT                         0 Injunctive Relief
                                0 Lis Pendens                    PROCEEDINGS
                                                                                                     D Mandamus
CONTRACT                        0 Mechanic's Lien                0 Assupmtion of Jurisdiction
0 Asbestos                      D Ownership                      D Authorized Sale                  OTHER
D Breach                        D Partition/Sale in Lieu         0 Attorney Appointment             D Accounting
D Business and Commercial       0 Quiet Title                    D Body Attachment Issuance         0 Friendly Suit
0 Confessed Judgment            0 Rent Escrow                    0 Commission Issuance              0 Grantor in Possession
  (Cont'd)                                                                                          D Maryland Insurance
0 Construction                  D Return of Seized Property
                                □ Right of Redemption                                                    Administration
□ Debt                                                                                               0 Miscellaneous
0 Fraud                         0 Tenant Holding Over
                                                                                                     D Specific Transaction
                                                                                                     0 Structured Settlements
CC-DCM-002 (Rev. 10/2021)                                     Page 1 of3
                   Case 1:23-cv-01795-JKB Document 23-1 Filed 07/19/23 Page 32 of 33



                          IF NEW OR EXISTING CASE: RELIEF (Check All that Apply)
0 Abatement                   0 Earnings Withholding Iii Judgment-Default  0 Reinstatement of Employment
~ Administrative Action         0 Enrollment                     0 Judgment-Interest                   0 Return of Property
0 Appointment of Receiver       0 Expungement                    ~ Judgment-Summary                    0 Sale of Property
0 Arbitration                   0 Financial Exploitation         ~ Liability                           0 Specific Performance
0 Asset Determination           ~ Findings of Fact              0 Oral Examination                     0 Writ-Error Coram Nobis
0 Attachment b/f Judgment       0 Foreclosure                    ~ Order                               0 Writ-Execution
~ Cease & Desist Order          ~ Injunction                    0 Ownership of Property               0 Writ-Garnish Property
0 Condemn Bldg                  0 Judgment-Affidavit            0 Partition of Property               0 Writ-Garnish Wages
□ Contempt                      0 Judgment-Attorney Fees        0 Peace Order                         0 Writ-Habeas Corpus
~ Court Costs/Fees              0 Judgment-Confessed            0 Possession                          0 Writ-Mandamus
121 Damages-Compensatory        0 Judgment-Consent              0 Production of Records               □ Writ-Possession
~ Damages-Punitive              121 Judgment-Declaratory        0 Quarantine/Isolation Order

  Ifyou indicated Liability above, mark one of the following. This information is not an admission and may
  not be used for any purpose other than Track Assignment.

  ~ Liability is conceded.     □ Liability is not conceded, but is not seriously in dispute.   0 Liability is seriously in dispute.

              MONETARY DAMAGES (Do not include Attorney's Fees, Interest, or Court Costs)
       □ Under $10,000                □ $10,000 - $30,000              □ $30,000 - $100,000            Iii Over $100,000
       181 Medical Bills $ 1oolooo             181 Wage Loss $ ?                     ~ Property Damages $         ?

                             ALTERNATIVE DISPUTE RESOLUTION INFORMATION
  Is this case appropriate for referral to an ADR process under Md. Rule 17-101? (Check all that apply)
  A. Mediation         ~Yes □ No                                       C. Settlement Conference      III Yes □ No
  B. Arbitration       0 Yes L8No                                      D. Neutral Evaluation         □ Yes ~No

                                                SPECIAL REQUIREMENTS

   □ If a Spoken Language Interpreter is needed, check here and attach form CC-DC-041

   □ If you require an accommodation for a disability under the Americans with Disabilities Act, check here and
      attach form CC-DC-049
                                            ESTIMATED LENGTH OF TRIAL
  With the exception of Baltimore County and Baltimore City, please fill in the estimated LENGTH OF
  TRIAL.
                                               (Case will be tracked accordingly)
                              0 1/2 day of trial or less                   □ 3 days of trial time
                              □ 1 day of trial time                        □ More than 3 days of trial time
                              □ 2 days of trial time

                    BUSINESS AND TECHNOLOGY CASE MANAGEMENT PROGRAM
     For all jurisdictions, if Business and Technology track designation under Md. Rule 16-308 is requested, attach a
                                duplicate copy of complaint and check one of the tracks below.
                   ~ Expedited - Trial within 7 months of                  □ Standard - Trial within 18 months of
                             Defendant's response                                    Defendant's response
                                             EMERGENCY RELIEF REQUESTED

  CC-DCM-002 (Rev. 10/2021)                                       Page 2 of3
                 Case 1:23-cv-01795-JKB Document 23-1 Filed 07/19/23 Page 33 of 33



                          COMPLEX SCIENCE AND/OR TECHNOLOGICAL CASE
                                MANAGEMENT PROGRAM (ASTAR)
               FOR PURPOSES OF POSSIBLE SPECIAL ASSIGNMENT TO ASTAR RESOURCES JUDGES under
          Md. Rule 16-302, attach a duplicate copy ofcomplaint and check whether assignment to an ASTAR is requested.

                      □ Expedited - Trial within 7 months of                     □ Standard - Trial within 18 months of
                                 Defendant's response                                         Defendant's response

    IF YOU ARE FILING YOUR COMPLAINT IN BALTIMORE CITY, OR BALTIMORE COUNTY,
    PLEASE FILL OUT THE APPROPRIATE BOX BELOW.

                    CIRCUIT COURT FOR BALTIMORE CITY (CHECK ONLY ONE)
    3 Expedited                              Trial 60 to 120 days from notice. Non-jury matters.
    3 Civil-Short                            Trial 210 days from first answer.
    0 Civil-Standard                         Trial 360 days from first answer.
    □ Custom                                 Scheduling order entered by individual judge.
    □ Asbestos                               Special scheduling order.
    □ Lead Paint                             Fill in: Birth Date of youngest plaintiff
    □ Tax Sale Forclosures                   Special scheduling order.
    □ Mortgage Foreclosures                  No scheduling order.

                                   CIRCUIT COURT FOR BALTIMORE COUNTY

    a         Expedited              Attachment Before Judgment, Declaratory Judgment (Simple),
          (Trial Date-90 days)       Administrative Appeals, District Court Appeals and Jury Trial Prayers,
                                     Guardianship, Injunction, Mandamus.

    a         Standard               Condemnation, Confessed Judgments (Vacated), Contract, Employment Related
        (Trial Date-240 days)        Cases, Fraud and Misrepresentation, International Tort, Motor Tort, Other
                                     Personal Injury, Workers' Compensation Cases.

    a Extended Standard              Asbestos, Lender Liability, Professional Malpractice, Serious Motor Tort or
        (Trial Date-345 days)        Personal Injury Cases (medical expenses and wage loss of $100,000, expert and
                                     out-of-state witnesses (parties), and trial of five or more days), State Insolvency.

    □        Complex                 Class Actions, Designated Toxic Tort, Major Construction Contracts, Major
         (Trial Date-450 days)       Product Liabilities, Other Complex Cases.
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1236 KENDRICK RD                                                         DR. KEENAN COFIELD
                                                                                                   Printed Name
                           Address                                                                                   V
    ROSEDALE                     MD             21237
-    ---C-ity____                    State          Zip Code




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